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 7                               UNITED STATES DISTRICT COURT
 8                             EASTERN DISTRICT OF CALIFORNIA
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10   GERALD CARLIN, JOHN RAHM, PAUL                    CASE NO. 1:09-CV-00430 AWI EPG
     ROZWADOWSKI and DIANA WOLFE,
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     individually and on behalf of themselves and      ORDER ON DAIRYAMERICA, INC.’S
                                                       REQUEST TO SEAL DOCUMENTS
12   all others similarly situated,                    AND FILE REDACTED VERSIONS
13                                Plaintiffs,          (Doc. No. 387)
14          v.
15
     DAIRYAMERICA, INC., and
16   CALIFORNIA DAIRIES, INC.,

17                                Defendants.

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20          This matter comes before the Court on Defendant DairyAmerica, Inc.’s (“DairyAmerica”)

21   Request to Seal Documents and File Redacted Versions (the “Request”) pursuant to Local Rules

22   140 and 141. Having considered the Request, including DairyAmerica’s supplemental briefing

23   (Doc. No. 404), the Court will grant in part and deny in part DairyAmerica’s Request.

24          On April 14, 2017, the Court requested that DairyAmerica provide supplemental briefing

25   on whether information that appeared public on its face should be sealed. Doc. No. 396. On April

26   20, 2017, DairyAmerica submitted supplemental briefing explaining that Plaintiffs’ counsel

27   designated the materials in question as “CONFIDENTIAL” under the protective order in this case,

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 1   and on that basis, DairyAmerica conditionally submitted the same under seal.1 Doc. No. 404.
 2   Further, DairyAmerica stated that it has no objection to publicly filing Exhibits E-G and I-L to the
 3   Declaration of Sanjay M. Nangia (“Nangia Decl.”), and references thereto, which it identifies as:
 4           1. Exhibit E to the Nangia Decl. is a letter produced by Plaintiff Gerald Carlin directed to
 5              members of the Senate and Congress;
             2. Exhibit F to the Nangia Decl. is a document produced by nonparty the National Family
 6              Farm Coalition (“NFFC”) appearing to be a press release;
 7           3. Exhibit G to the Nangia Decl. is a document produced by NFFC appearing to be
                testimony of Plaintiff Paul Rozwadowski provided at a hearing to review USDA dairy
 8
                programs;
 9           4. Exhibit I to the Nangia Decl. is a document produced by nonparty Peter Hardin
                appearing to be the November 2006 issue of The Milkweed;
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             5. Exhibit J to the Nangia Decl. is a document produced by Peter Hardin appearing to be
11              the February 2007 issue of The Milkweed;
12           6. Exhibit K to the Nangia Decl. is a document produced by nonparty The Milkweed
                appearing to be the March 2007 issue of The Milkweed; and
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             7. Exhibit L to the Nangia Decl. is a document produced by Peter Hardin appearing to be
14              the April 2007 issue of The Milkweed.

15           As of the date of this order, Plaintiffs have not filed any response to DairyAmerica’s

16   supplemental briefing, nor have Plaintiffs requested permission from the Court to do so.

17   Therefore, based on DairyAmerica’s statements to this Court and given the lack of any dispute

18   from Plaintiffs, the Court will deny DairyAmerica’s Request to seal Exhibits E-G and I-L to the

19   Nangia Decl., including references to same in its opposition brief, but will grant DairyAmerica’s

20   Request as to all other information it seeks to file under seal.

21                                                     ORDER

22           Accordingly, IT IS HEREBY ORDERED that:

23           1.      DairyAmerica’s Request to seal Exhibits E-G and I-L to the Nangia Decl.,

24   including references to same in its opposition brief, is DENIED;

25           2.      DairyAmerica’s Request as to the remaining information it seeks to file under seal

26   is GRANTED;

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28     The Court reminds the parties to exercise care when producing documents as “CONFIDENTIAL,” since only
     information that qualifies under the appropriate standards should be designated as such.

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 1            3.      The Clerk is directed to file unredacted versions of the following documents under
 2   seal:
 3                    a.       DairyAmerica’s Opposition to Plaintiffs’ Motion for Leave to File Fourth
 4   Amended Consolidated Class Action Complaint;
 5                    b.       Declaration of Sanjay M. Nangia in Support of DairyAmerica’s Opposition
 6   to Plaintiffs’ Motion for Leave to File Fourth Amended Consolidated Class Action Complaint,
 7   including Exhibits A-T;
 8                    c.       Declaration of Jean McAbee in Support of DairyAmerica’s Opposition to
 9   Plaintiffs’ Motion for Leave to File Fourth Amended Consolidated Class Action Complaint,
10   including Exhibits A-E;
11            4.      Upon entry of this Order and after the Clerk has filed the unredacted documents
12   under seal, Defendant DairyAmerica will file redacted versions of the above documents directly
13   via CM/ECF within ten days from this Order; and
14            5.      DairyAmerica shall revise its proposed redactions and file redacted versions of its
15   Opposition to Plaintiffs’ Motion for Leave to File Fourth Amended Consolidated Class Action
16   Complaint and the Declaration of Sanjay M. Nangia that are consistent with this order.2
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     IT IS SO ORDERED.
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19   Dated: April 24, 2017
                                                       SENIOR DISTRICT JUDGE
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28    DairyAmerica has already served counsel for Plaintiffs with copies of the unredacted documents. Only the Court
     and its staff shall have access to the unredacted documents.

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